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 5
                            UNITED STATES DISTRICT COURT
 6
                                   DISTRICT OF NEVADA
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 8
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 9
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10
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11
     RICHARD SOLOMONS, et al.,
12
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13
     TANYA RENEE ROBERSON,                      Case No. 2:21-cv-00740-JAD-NJK
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     FRANK GIUNTA,
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     AARON JOHN DEVRIES, et al.,                Case No. 2:21-cv-00741-JAD-NJK
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     JASON MIKKELSEN,
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23
     ALESA LYN HART,                            Case No. 2:21-cv-00742-JAD-NJK
24
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     DAVID SIMON, et al.,
27
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 1   BAHAELDEEN JACKNOON,                       Case No. 2:21-cv-00743-JAD-NJK
 2          Plaintiff(s),                           Report and Recommendation
 3   v.
 4   FLORENCE J. ARM,
 5          Defendant(s).
 6   ALESA LYN HART,                            Case No. 2:21-cv-00744-JAD-NJK
 7          Plaintiff(s),                           Report and Recommendation
 8   v.
 9   PELICAN PLAZA MANAGEMENT
     COMPANY, LLC, et al.,
10
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11
     BARBARA J. STRUTHERS,                      Case No. 2:21-cv-00745-JAD-NJK
12
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14
     MORTON SCHAPIRO, et al.,
15
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     ALESA LYN HART,                            Case No. 2:21-cv-00746-JAD-NJK
17
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     NATHAN BENDERSON,
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21
     BECKY BARNES-BOERS,                        Case No. 2:21-cv-00747-JAD-NJK
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     FIRST STREET SCHOOL, et al.,
25
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 1   ALESA LYNN HART,                           Case No. 2:21-cv-00748-JAD-NJK
 2          Plaintiff(s),                           Report and Recommendation
 3   v.
 4   STEPHEN F. LOVELL,
 5          Defendant(s).
 6   BETTY J. BENNING,                          Case No. 2:21-cv-00749-JAD-NJK
 7          Plaintiff(s),                           Report and Recommendation
 8   v.
 9   GARY C. MOHR, et al.,
10          Defendant(s).
11   ALESA LYN HART,                            Case No. 2:21-cv-00750-JAD-NJK
12          Plaintiff(s),                           Report and Recommendation
13   v.
14   MARY DILLON, et al.,
15          Defendant(s).
16   ELEANOR CLAIRE D’AMICO,                    Case No. 2:21-cv-00751-JAD-NJK
17          Plaintiff(s),                           Report and Recommendation
18   v.
19   RITE AID STORE #10640, MANAGER, et
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20
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21
     ALESA LYN HART,                            Case No. 2:21-cv-00752-JAD-NJK
22
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24
     ARNE SORENSON, et al.,
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 1   ELEANOR CLAIRE D’AMICO,                    Case No. 2:21-cv-00753-JAD-NJK
 2          Plaintiff(s),                           Report and Recommendation
 3   v.
 4   MACY’S GENERAL MANAGER, et al.,
 5          Defendant(s).
 6   TENNILLE IRENE HOUSTON,                    Case No. 2:21-cv-00754-JAD-NJK
 7          Plaintiff(s),                           Report and Recommendation
 8   v.
 9   BRIAN BEAN, et al.,
10          Defendant(s).
11   AMORINE LEWIS,                             Case No. 2:21-cv-00755-JAD-NJK
12          Plaintiff(s),                           Report and Recommendation
13   v.
14   ROSSMORE PARK HOA PRESIDENT, et
     al.,
15
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     ELEANOR CLARE D’AMICO,                     Case No. 2:21-cv-00756-JAD-NJK
17
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19
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20
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22
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23
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24
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 1   ELEANOR CLAIRE D’AMICO,                    Case No. 2:21-cv-00758-JAD-NJK
 2          Plaintiff(s),                           Report and Recommendation
 3   v.
 4   BED, BATH & BEYOND, et al.,
 5          Defendant(s).
 6   TERRI JAYNE READ,                          Case No. 2:21-cv-00759-JAD-NJK
 7          Plaintiff(s),                           Report and Recommendation
 8   v.
 9   HOLIDAY INN CLUB VACATIONS, et al.,
10          Defendant(s).
11   ELEANOR CLAIRE D’AMICO,                    Case No. 2:21-cv-00760-JAD-NJK
12          Plaintiff(s),                           Report and Recommendation
13   v.
14   HUNTINGTON HOSPITAL, et al.,
15          Defendant(s).
16   AMY DEANNA HOOD,                           Case No. 2:21-cv-00761-JAD-NJK
17          Plaintiff(s),                           Report and Recommendation
18   v.
19   JOHN C. MALONE, et al.,
20          Defendant(s).
21   ELEANOR CLARE D’AMICO,                     Case No. 2:21-cv-00762-JAD-NJK
22          Plaintiff(s),                           Report and Recommendation
23   v.
24   WALT WHITMAN SHOPS, et al.,
25          Defendant(s).
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 1   THOMAS K. BEADLING,                        Case No. 2:21-cv-00763-JAD-NJK
 2          Plaintiff(s),                           Report and Recommendation
 3   v.
 4   JENNIFER CUTHBERT, et al.,
 5          Defendant(s).
 6   ANDY SEEMAN,                               Case No. 2:21-cv-00764-JAD-NJK
 7          Plaintiff(s),                           Report and Recommendation
 8   v.
 9   MATTHEW JOBLON, et al.,
10          Defendant(s).
11   ELEANOR CLAIRE D’AMICO,                    Case No. 2:21-cv-00766-JAD-NJK
12          Plaintiff(s),                           Report and Recommendation
13   v.
14   COSTCO WHOLESALE, et al.,
15          Defendant(s).
16   ELEANOR CLAIRE D’AMICO,                    Case No. 2:21-cv-00767-JAD-NJK
17          Plaintiff(s),                           Report and Recommendation
18   v.
19   THE HOME DEPOT, et al.,
20          Defendant(s).
21   ELEANOR CLAIRE D’AMICO,                    Case No. 2:21-cv-00769-JAD-NJK
22          Plaintiff(s),                           Report and Recommendation
23   v.
24   STOP & SHOP, et al.,
25          Defendant(s).
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 1   ELEANOR CLAIRE D’AMICO,                    Case No. 2:21-cv-00771-JAD-NJK
 2           Plaintiff(s),                          Report and Recommendation
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 4   STAPLES, et al.,
 5           Defendant(s).
 6   T.R.J., et al.,                            Case No. 2:21-cv-00772-JAD-NJK
 7           Plaintiff(s),                          Report and Recommendation
 8   v.
 9   MR. ANDREY KRUGLYKIN, et al.,
10           Defendant(s).
11   ANNE ELIZABETH FERRANTE,                   Case No. 2:21-cv-00774-JAD-NJK
12           Plaintiff(s),                          Report and Recommendation
13   v.
14   SC INVESTMENTS LAS VEGAS INC., et
     al.,
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             Defendant(s).
16
     C.C.H., et al.,                            Case No. 2:21-cv-00775-JAD-NJK
17
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18
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19
     DELLCOR MANAGEMENT, INC.,
20
             Defendant(s).
21
     JENNIFER C. MUELLER,                       Case No. 2:21-cv-00776-JAD-NJK
22
             Plaintiff(s),                          Report and Recommendation
23
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24
     TERRY MANUEL, et al.,
25
             Defendant(s).
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 1   ANTHONY JOHN AMORELLO,                      Case No. 2:21-cv-00777-JAD-NJK
 2          Plaintiff(s),                            Report and Recommendation
 3   v.
 4   DOUGLAS A. KESSLER, et al.,
 5          Defendant(s).
 6   TRICHELE REESE,                             Case No. 2:21-cv-00778-JAD-NJK
 7          Plaintiff(s),                            Report and Recommendation
 8   v.
 9   TISHMAN SPEYER PROPERTIES, LP, et
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10
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11
     JOHN DONALD MESZAROS, et al.,               Case No. 2:21-cv-00779-JAD-NJK
12
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14
     INTERVAL INTERNATIONAL, INC., et al.,
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     VALERIE BATCHELOR, et al.,                  Case No. 2:21-cv-00780-JAD-NJK
17
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19
     CHRISTOPHER J. NASSETTA, et al.,
20
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21
     CAROL A. WILLIAMS,                          Case No. 2:21-cv-00781-JAD-NJK
22
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23
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24
     EXTENDED STAY OF AMERICA
25   ATLANTA MANAGER, et al.,
26          Defendant(s).
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 1   JOHN SMITH WILLIAMS,                       Case No. 2:21-cv-00782-JAD-NJK
 2          Plaintiff(s),                           Report and Recommendation
 3   v.
 4   MICHAEL W. BRYANT,
 5          Defendant(s).
 6   WILLIAM FREDERICK SAAR,                    Case No. 2:21-cv-00783-JAD-NJK
 7          Plaintiff(s),                           Report and Recommendation
 8   v.
 9   STEVEN B. TANGER, et al.,
10          Defendant(s).
11   JUDY KAY KATZ,                             Case No. 2:21-cv-00784-JAD-NJK
12          Plaintiff(s),                           Report and Recommendation
13   v.
14   MOLINE POST OFFICE POSTMASTER, et
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15
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16
     JULIE SIKORSKY,                            Case No. 2:21-cv-00785-JAD-NJK
17
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18
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19
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20
            Defendant(s).
21
     JASON CLARK,                               Case No. 2:21-cv-00786-JAD-NJK
22
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24
     MOTORWORLD AUTOMOTIVE GROUP,
25   INC., et al.,
26          Defendant(s).
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 1   JAMES MARTIN WOLF,                             Case No. 2:21-cv-00789-JAD-NJK
 2           Plaintiff(s),                           Report and Recommendation
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 4   RICHARD SOLOMONS, et al.,
 5           Defendant(s).
 6   JAN SNELL HOUSTON,                             Case No. 2:21-cv-00790-JAD-NJK
 7           Plaintiff(s),                           Report and Recommendation
 8   v.
 9   WALMART SUPERCENTER MANAGER,
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11
     JAN SNELL HOUSTON,                             Case No. 2:21-cv-00791-JAD-NJK
12
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14
     DEKALB REGIONAL MEDICAL
15   CENTER, et al.,
16           Defendant(s).
17   JANET J. MCALISTER,                            Case No. 2:21-cv-00792-JAD-NJK
18           Plaintiff(s),                           Report and Recommendation
19   v.
20   JACK MILLER, et al.,
21           Defendant(s).
22   JANETTE PIRIE,                                 Case No. 2:21-cv-00793-JAD-NJK
23           Plaintiff(s),                           Report and Recommendation
24   v.
25   DRD HOSPITALITY, INC., et al.,
26           Defendant(s).
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 1   JASON CLARK,                                   Case No. 2:21-cv-00794-JAD-NJK
 2           Plaintiff(s),                           Report and Recommendation
 3   v.
 4   JOHN LILLY, M.D., et al.,
 5           Defendant(s).
 6   JASON CLARK,                                   Case No. 2:21-cv-00795-JAD-NJK
 7           Plaintiff(s),                           Report and Recommendation
 8   v.
 9   PAUL J. WITT,
10           Defendant(s).
11   ELEANOR CLAIRE D’AMICO,                        Case No. 2:21-cv-00796-APG-NJK
12           Plaintiff(s),                           Report and Recommendation
13   v.
14   TARGET HUNTINGTON MANAGER, et
     al.,
15
             Defendant(s).
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17
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18
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19
     KETEWOMOKE YACHT CLUB,
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21
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24
     TOWN OF HUNTINGTON, NY, et al.,
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 1   ELEANOR CLARE D’AMICO,                         Case No. 2:21-cv-00800-JAD-NJK
 2           Plaintiff(s),                           Report and Recommendation
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 4   KMART STORE #9381 MANAGER, et al.,
 5           Defendant(s).
 6   HEATHER RENEE NANCE,                           Case No. 2:21-cv-00801-JAD-NJK
 7           Plaintiff(s),                           Report and Recommendation
 8   v.
 9   DAVE KING, et al.,
10           Defendant(s).
11   HEATHER RENEE NANCE,                           Case No. 2:21-cv-00802-JAD-NJK
12           Plaintiff(s),                           Report and Recommendation
13   v.
14   STEPHEN P. JOYCE, et al.,
15           Defendant(s).
16   DEBRA L. HUGHSON,                              Case No. 2:21-cv-00803-JAD-NJK
17           Plaintiff(s),                           Report and Recommendation
18   v.
19   DAVID KONG, et al.,
20           Defendant(s).
21   DENNIS J. TROCCIOLA,                           Case No. 2:21-cv-00804-JAD-NJK
22           Plaintiff(s),                           Report and Recommendation
23   v.
24   PRC GROUP, et al.,
25           Defendant(s).
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 1   DIANE QUACKENBUSH,                             Case No. 2:21-cv-00805-JAD-NJK
 2           Plaintiff(s),                           Report and Recommendation
 3   v.
 4   JOEY DECUFFA, et al.,
 5           Defendant(s).
 6   DOMINIC L. MAZZONE, JR.,                       Case No. 2:21-cv-00806-JAD-NJK
 7           Plaintiff(s),                           Report and Recommendation
 8   v.
 9   JANET MOLLEN, et al.,
10           Defendant(s).
11   ELEANOR CLAIRE D’AMICO,                        Case No. 2:21-cv-00807-JAD-NJK
12           Plaintiff(s),                           Report and Recommendation
13   v.
14   KING KULLEN GENERAL MANAGER, et
     al.,
15
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16
     ELEANOR CLAIRE D’AMICO,                        Case No. 2:21-cv-00808-JAD-NJK
17
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19
     PRIME RESTAURANT MANAGER, et al.,
20
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21
     COREY ADAM HANSON,                             Case No. 2:21-cv-00809-JAD-NJK
22
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23
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24
     MICHAEL BRINDSI, et al.,
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 1   CHRISTINA EARHEART,                            Case No. 2:21-cv-00810-JAD-NJK
 2           Plaintiff(s),                           Report and Recommendation
 3   v.
 4   RICHARD SOLOMONS,
 5           Defendant(s).
 6   GARTH A. LEONARD,                              Case No. 2:21-cv-00811-JAD-NJK
 7           Plaintiff(s),                           Report and Recommendation
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 9   U.S. POSTAL SERVICES POSTMASTER,
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10
             Defendant(s).
11
     CYNTHIA GATES,                                 Case No. 2:21-cv-00812-JAD-NJK
12
             Plaintiff(s),                           Report and Recommendation
13
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14
     WAYNE B. GOLDBERG, et al.,
15
             Defendant(s).
16
     GINA B. WILLIAMS,                              Case No. 2:21-cv-00813-JAD-NJK
17
             Plaintiff(s),                           Report and Recommendation
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19
     ALEX C. CABANAS, et al.,
20
             Defendant(s).
21
     CYNTHIA GATES,                                 Case No. 2:21-cv-00814-JAD-NJK
22
             Plaintiff(s),                           Report and Recommendation
23
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24
     CARNIVAL CORPORATION & PLC, et al.,
25
             Defendant(s).
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 1   DALE AUSTIN STOPP,                             Case No. 2:21-cv-00815-JAD-NJK
 2           Plaintiff(s),                           Report and Recommendation
 3   v.
 4   ANDY FOLEY,
 5           Defendant(s).
 6   DAVID ALAN FIELDSEND,                          Case No. 2:21-cv-00816-JAD-NJK
 7           Plaintiff(s),                           Report and Recommendation
 8   v.
 9   LA QUINTA HOLDINGS, et al.,
10           Defendant(s).
11   DAVID J. WHITE,                                Case No. 2:21-cv-00817-JAD-NJK
12           Plaintiff(s),                           Report and Recommendation
13   v.
14   MICHEL T. REYNOLDS, et al.,
15           Defendant(s).
16   DAVID HIGGINBOTHAM,                            Case No. 2:21-cv-00818-JAD-NJK
17           Plaintiff(s),                           Report and Recommendation
18   v.
19   FEDEX CORPORATION, et al.,
20           Defendant(s).
21   DAVID HIGGINBOTHAM,                            Case No. 2:21-cv-00819-JAD-NJK
22           Plaintiff(s),                           Report and Recommendation
23   v.
24   CAROL Z. GARRISON, et al.,
25           Defendant(s).
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 1   DAVID HIGGINBOTHAM,                             Case No. 2:21-cv-00820-JAD-NJK
 2           Plaintiff(s),                            Report and Recommendation
 3   v.
 4   BIRMINGHAM CITY HALL, et al.,
 5           Defendant(s).
 6   KATHERINE MARY TROTTIER,                        Case No. 2:21-cv-00821-JAD-NJK
 7           Plaintiff(s),                            Report and Recommendation
 8   v.
 9   DAVID J.G. BLACKMORE, et al.,
10           Defendant(s).
11   KATHERINE MARY TROTTIER,                        Case No. 2:21-cv-00823-JAD-NJK
12           Plaintiff(s),                            Report and Recommendation
13   v.
14   STEVE EASTERBROOK, et al.,
15           Defendant(s).
16   KELLY-ANN LARSON,                               Case No. 2:21-cv-00824-JAD-NJK
17           Plaintiff(s),                            Report and Recommendation
18   v.
19   TRIPLE FIVE GROUP GHERMEZIAN
     BROTHERS,
20
             Defendant(s).
21
     KENNETH M. MERONEY,                             Case No. 2:21-cv-00825-JAD-NJK
22
             Plaintiff(s),                            Report and Recommendation
23
     v.
24
     CHRISTOPHER J. NASSETTA, et al.,
25
             Defendant(s).
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 1   KENNETH MERONY,                                 Case No. 2:21-cv-00826-JAD-NJK
 2           Plaintiff(s),                            Report and Recommendation
 3   v.
 4   CHRISTOPHER J. NASSETTA, et al.,
 5           Defendant(s).
 6   KRISTEN RICHMOND,                               Case No. 2:21-cv-00827-JAD-NJK
 7           Plaintiff(s),                            Report and Recommendation
 8   v.
 9   VALLEY VIEW ELEMENTARY SCHOOL,
10           Defendant(s).
11   LAURA BARTEL,                                   Case No. 2:21-cv-00828-JAD-NJK
12           Plaintiff(s),                            Report and Recommendation
13   v.
14   CHOICE HOTELS INTERNATIONAL,
     INC., et al.,
15
             Defendant(s).
16
     LAURA BARTEL,                                   Case No. 2:21-cv-00829-JAD-NJK
17
             Plaintiff(s),                            Report and Recommendation
18
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19
     BEST WESTERN CORPORATE OFFICE
20   AND HEADQUARTERS, et al.,
21           Defendant(s).
22   LAURA BARTEL,                                   Case No. 2:21-cv-00830-JAD-NJK
23           Plaintiff(s),                            Report and Recommendation
24   v.
25   WYNDHAM WORLDWIDE
     CORPORATION, et al.,
26
             Defendant(s).
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 1   LAURA BARTEL,                                  Case No. 2:21-cv-00832-JAD-NJK
 2           Plaintiff(s),                           Report and Recommendation
 3   v.
 4   LA QUINTA HOLDINGS, et al.,
 5           Defendant(s).
 6   LAURA BETA GRABER,                             Case No. 2:21-cv-00833-JAD-NJK
 7           Plaintiff(s),                           Report and Recommendation
 8   v.
 9   U.S. POSTAL SERVICES, POSTMASTER
     GENERAL, et al.,
10
             Defendant(s).
11
     LAURA XIRENA GONZALEZ,                         Case No. 2:21-cv-00834-JAD-NJK
12
             Plaintiff(s),                           Report and Recommendation
13
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14
     DANNY GUTIERREZ, SR., et al.,
15
             Defendant(s).
16
     LAURALEE TYLER,                                Case No. 2:21-cv-00836-JAD-NJK
17
             Plaintiff(s),                           Report and Recommendation
18
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19
     BEAR MOUNTAIN STATE PARK, et al.,
20
             Defendant(s).
21
     LINDA SUE WITTUM,                              Case No. 2:21-cv-00838-JAD-NJK
22
             Plaintiff(s),                           Report and Recommendation
23
     v.
24
     TRAVIS JANTZEN, et al.,
25
             Defendant(s).
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 1   LINK J. CHANEY,                                Case No. 2:21-cv-00840-JAD-NJK
 2           Plaintiff(s),                           Report and Recommendation
 3   v.
 4   JIMMY HENSON,
 5           Defendant(s).
 6   LUCRECIA PEREZ,                                Case No. 2:21-cv-00841-JAD-NJK
 7           Plaintiff(s),                           Report and Recommendation
 8   v.
 9   STUART D. GOLDSTEIN, et al.,
10           Defendant(s).
11   MARK ALLAN UNTERSCHER,                         Case No. 2:21-cv-00842-JAD-NJK
12           Plaintiff(s),                           Report and Recommendation
13   v.
14   STEPHEN P. HOLMES, et al.,
15           Defendant(s).
16   MARK ALLAN UNTERSEHER,                         Case No. 2:21-cv-00845-JAD-NJK
17           Plaintiff(s),                           Report and Recommendation
18   v.
19   HOLIDAY INN CLUB VACATIONS, et al.,
20           Defendant(s).
21   MARLA DEWALT SUMMEY,                           Case No. 2:21-cv-00846-JAD-NJK
22           Plaintiff(s),                           Report and Recommendation
23   v.
24   ST. PAUL’S EPISCOPAL SCHOOL
     BOARD CHAIRMAN AND SCHOOL
25   RECTOR, et al.,
26           Defendant(s).
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 1   MARLA DEWALT SUMMEY,                           Case No. 2:21-cv-00847-JAD-NJK
 2           Plaintiff(s),                           Report and Recommendation
 3   v.
 4   TAMMY WEBB, et al.,
 5           Defendant(s).
 6   MARY BETH ENGLUND,                             Case No. 2:21-cv-00849-JAD-NJK
 7           Plaintiff(s),                           Report and Recommendation
 8   v.
 9   KARYN HUEMOELLER, et al.,
10           Defendant(s).
11   PATRICK CHARLES PARKER,                        Case No. 2:21-cv-00850-JAD-NJK
12           Plaintiff(s),                           Report and Recommendation
13   v.
14   JOHN ADAMS, et al.,
15           Defendant(s).
16   PAUL ALLEN TAYLOR,                             Case No. 2:21-cv-00851-JAD-NJK
17           Plaintiff(s),                           Report and Recommendation
18   v.
19   GENE IMEL, et al.,
20           Defendant(s).
21   MARYANNE CHRISTINA PIENTA,                     Case No. 2:21-cv-00852-JAD-NJK
22           Plaintiff(s),                           Report and Recommendation
23   v.
24   ANTHONY CLARK, et al.,
25           Defendant(s).
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 1   PAUL JAMES CAPASSO,                            Case No. 2:21-cv-00853-JAD-NJK
 2           Plaintiff(s),                           Report and Recommendation
 3   v.
 4   CHRIS ROUSSOS, et al.,
 5           Defendant(s).
 6   PAULINE VICTORIA AUGHE,                        Case No. 2:21-cv-00854-JAD-NJK
 7           Plaintiff(s),                           Report and Recommendation
 8   v.
 9   ALBERT JEYTE, et al.,
10           Defendant(s).
11   RICK SCHUSSLER,                                Case No. 2:21-cv-00855-JAD-NJK
12           Plaintiff(s),                           Report and Recommendation
13   v.
14   STONEPINE HOA PRESIDENT, et al.,
15           Defendant(s).
16   ROBERT J. GARLOW,                              Case No. 2:21-cv-00856-JAD-NJK
17           Plaintiff(s),                           Report and Recommendation
18   v.
19   RICHARD M. BRACKEN, et al.,
20           Defendant(s).
21   CONNIE CARR,                                   Case No. 2:21-cv-00857-JAD-NJK
22           Plaintiff(s),                           Report and Recommendation
23   v.
24   BERKLEY SOUTH CONDOMINIUM
     ASSOCIATION, INC., et al.,
25
             Defendant(s).
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 1   ROBERT WESLEY HENDERSON,                       Case No. 2:21-cv-00858-JAD-NJK
 2           Plaintiff(s),                           Report and Recommendation
 3   v.
 4   CRAIG M. NASH, et al.,
 5           Defendant(s).
 6   ROBIN FLYNN,                                   Case No. 2:21-cv-00859-JAD-NJK
 7           Plaintiff(s),                           Report and Recommendation
 8   v.
 9   JOHN Z. KUKRAL, et al.,
10           Defendant(s).
11   RONALD LEE PENDLETON,                          Case No. 2:21-cv-00860-JAD-NJK
12           Plaintiff(s),                           Report and Recommendation
13   v.
14   BIGLARI HOLDINGS, et al.,
15           Defendant(s).
16   MARY LOU MATHIS,                               Case No. 2:21-cv-00861-JAD-NJK
17           Plaintiff(s),                           Report and Recommendation
18   v.
19   PAUL ALLEN, et al.,
20           Defendant(s).
21   MELINDA DIANE SCOTT,                           Case No. 2:21-cv-00862-JAD-NJK
22           Plaintiff(s),                           Report and Recommendation
23   v.
24   ANNA LINNEY,
25           Defendant(s).
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 1   ROSEMARY RAMIREZ,                              Case No. 2:21-cv-00863-JAD-NJK
 2           Plaintiff(s),                           Report and Recommendation
 3   v.
 4   LA CAZE DEVELOPMENT COMPANY,
     LLC, et al.,
 5
             Defendant(s).
 6
     CHARY LYNN HELTON,                             Case No. 2:21-cv-00864-JAD-NJK
 7
             Plaintiff(s),                           Report and Recommendation
 8
     v.
 9
     MICHAEL JENSEN-SILVA, et al.,
10
             Defendant(s).
11
     MELISSA COFFEY,                                Case No. 2:21-cv-00865-JAD-NJK
12
             Plaintiff(s),                           Report and Recommendation
13
     v.
14
     AVA TOLUCA HILLS APARTMENTS,
15
             Defendant(s).
16
     CECIL E. BROWN,                                Case No. 2:21-cv-00866-JAD-NJK
17
             Plaintiff(s),                           Report and Recommendation
18
     v.
19
     BAL HARBOUR CHATEAUX
20   CONDOMINIUM ASSOCIATION, INC., et
     al.,
21
             Defendant(s).
22
     CONNIE S. YUNA, et al.,                        Case No. 2:21-cv-00867-JAD-NJK
23
             Plaintiff(s),                           Report and Recommendation
24
     v.
25
     CAPITAL RESORTS OCEAN VIEW
26   VACATION VILLAS, et al.,
27           Defendant(s).
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 1   MICHAEL C. LUCAS,                              Case No. 2:21-cv-00868-JAD-NJK
 2           Plaintiff(s),                           Report and Recommendation
 3   v.
 4   JEFFERSON COUNTY PUBLIC LIBRARY,
     et al.,
 5
             Defendant(s).
 6
     NANCY HENDLER,                                 Case No. 2:21-cv-00869-JAD-NJK
 7
             Plaintiff(s),                           Report and Recommendation
 8
     v.
 9
     ANDREW ALEXANDER, et al.,
10
             Defendant(s).
11
     NANCY HENDLER,                                 Case No. 2:21-cv-00870-JAD-NJK
12
             Plaintiff(s),                           Report and Recommendation
13
     v.
14
     WAL-MART STORES, INC., et al.,
15
             Defendant(s).
16
     MICHAEL W. PARKS,                              Case No. 2:21-cv-00871-JAD-NJK
17
             Plaintiff(s),                           Report and Recommendation
18
     v.
19
     PATRICK H. HAMILL, et al.,
20
             Defendant(s).
21
     NANCY HENDLER,                                 Case No. 2:21-cv-00872-JAD-NJK
22
             Plaintiff(s),                           Report and Recommendation
23
     v.
24
     GATOR TOWN INN,
25
             Defendant(s).
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 1   MISTIE CORDES RODES,                           Case No. 2:21-cv-00873-JAD-NJK
 2           Plaintiff(s),                           Report and Recommendation
 3   v.
 4   DORIS VOITIER, et al.,
 5           Defendant(s).
 6   PATRICIA BRANDON,                              Case No. 2:21-cv-00874-JAD-NJK
 7           Plaintiff(s),                           Report and Recommendation
 8   v.
 9   INTERCONTINENTAL HOTELS GROUP
     (IHG), et al.,
10
             Defendant(s).
11
     PATRICIA BRANDON,                              Case No. 2:21-cv-00875-JAD-NJK
12
             Plaintiff(s),                           Report and Recommendation
13
     v.
14
     SASSY HENRY, et al.,
15
             Defendant(s).
16
     MITCHELL E. NIHART SR.,                        Case No. 2:21-cv-00876-JAD-NJK
17
             Plaintiff(s),                           Report and Recommendation
18
     v.
19
     INDIANA BUREAU OF MOTOR
20   VEHICLES, et al.,
21           Defendant(s).
22   SUSAN BRANDWEIN,                               Case No. 2:21-cv-00877-JAD-NJK
23           Plaintiff(s),                           Report and Recommendation
24   v.
25   MEGAN J. BRENNAN, et al.,
26           Defendant(s).
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 1   STEVEN WAYNE SWEDBERG,                         Case No. 2:21-cv-00878-JAD-NJK
 2           Plaintiff(s),                           Report and Recommendation
 3   v.
 4   KEITH E. SMITH, et al.,
 5           Defendant(s).
 6   SHELLEY MICHELLE WRIGHT,                       Case No. 2:21-cv-00879-JAD-NJK
 7           Plaintiff(s),                           Report and Recommendation
 8   v.
 9   MARK B. ROSENBERG, et al.,
10           Defendant(s).
11   MITCHELL J. OELLRICH,                          Case No. 2:21-cv-00880-JAD-NJK
12           Plaintiff(s),                           Report and Recommendation
13   v.
14   SIX FLAGS DISCOVERY KINGDOM,
15           Defendant(s).
16   SHELDON L. KRESLER, et al.,                    Case No. 2:21-cv-00881-JAD-NJK
17           Plaintiff(s),                           Report and Recommendation
18   v.
19   POMPANO ATLANTIS CONDOMINIUM
     ASSOCIATION, INC., et al.,
20
             Defendant(s).
21
     SHARON L. TOWNSEND,                            Case No. 2:21-cv-00882-JAD-NJK
22
             Plaintiff(s),                           Report and Recommendation
23
     v.
24
     BRUCE A. CORDINGLEY, et al.,
25
             Defendant(s).
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 1   ROSEMARY SALES,                                Case No. 2:21-cv-00883-JAD-NJK
 2           Plaintiff(s),                           Report and Recommendation
 3   v.
 4   BLACKSTONE GROUP, L.P., et al.,
 5           Defendant(s).
 6   MITCHELL J. OELLRICH,                          Case No. 2:21-cv-00884-JAD-NJK
 7           Plaintiff(s),                           Report and Recommendation
 8   v.
 9   SILVER SMOKE AND LIQUOR STORE,
10           Defendant(s).
11   SCOTT D. CHAFFEE,                              Case No. 2:21-cv-00886-JAD-NJK
12           Plaintiff(s),                           Report and Recommendation
13   v.
14   THE BLACKSTONE GROUP L.P., et al.,
15           Defendant(s).
16   STEVEN WAYNE SWEDBERG,                         Case No. 2:21-cv-00887-JAD-NJK
17           Plaintiff(s),                           Report and Recommendation
18   v.
19   IRWIN MOLASKY, et al.,
20           Defendant(s).
21   SIMONE C. DUVEN,                               Case No. 2:21-cv-00888-JAD-NJK
22           Plaintiff(s),                           Report and Recommendation
23   v.
24   CRAIG M. NASH, et al.,
25           Defendant(s).
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 1   JAMES MARTIN WOLF,                                      Case No. 2:21-cv-00895-JAD-NJK
 2           Plaintiff(s),                                     Report and Recommendation
 3   v.
 4   RICHARD SOLOMONS, et al.,
 5           Defendant(s).
 6          This is one of 140 cases initiated by Hank Falstad, who identifies himself as an ADA
 7 architect. In its order dated May 7, 2021, the Court required Plaintiff to take action should Plaintiff
 8 wish to continue with the ligation. In particular, Plaintiff was required to file an amended
 9 complaint properly signed either by Plaintiff or by a licensed attorney. In addition, Plaintiff was
10 required to either pay the filing fee or file an application to proceed in forma pauperis. The
11 deadline for compliance was set at June 7, 2021. The Court warned that failure to comply with
12 that order may result in dismissal of the case. To date, Plaintiff has not complied with these
13 requirements.
14          The Federal Rules of Civil Procedure mandate that a complaint initiating a case must be
15 signed by the plaintiff herself or by her attorney. Fed. R. Civ. P. 11(a). “The court must strike an
16 unsigned paper unless the omission is promptly corrected after being called to the attorney’s or
17 party’s attention.” Id. Moreover, initiating a federal lawsuit generally requires the payment of a
18 filing fee. See 28 U.S.C. § 1914(a). To the extent a plaintiff cannot afford to pay the filing fee,
19 she must file an application to proceed in forma pauperis. See 28 U.S.C. § 1915(a). When a
20 plaintiff does not pay the filing fee or file an application to proceed in forma pauperis, the case
21 may be dismissed. See, e.g., Desai v. Biden, 2021 WL 38169, at *1 (E.D. Cal. Jan. 5, 2021),
22 adopted, 2021 WL 276236 (E.D. Cal. Jan. 27, 2021).
23          As noted above, there is not a properly signed complaint in this case and that defect has
24 not been cured despite an opportunity to do so. Moreover, Plaintiff has not paid the filing fee or
25 filed an application to proceed in forma pauperis.
26          The undersigned finds that dismissal without prejudice is appropriate under the
27 circumstances. A Court may dismiss an action based on a party’s failure to prosecute her case or
28 obey an order. See, e.g., Ferdik v. Bonzelet, 963 F.2d 1258, 1260–61 (9th Cir. 1992); Malone v.

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 1 U.S. Postal Service, 833 F.2d 128, 130 (9th Cir. 1987); Henderson v. Duncan, 779 F.2d 1421,
 2 1424 (9th Cir. 1986). In determining whether to dismiss an action on one of these grounds, the
 3 Court must consider: (1) the public’s interest in expeditious resolution of litigation; (2) the Court’s
 4 need to manage its docket; (3) the risk of prejudice to the defendants; (4) the public policy favoring
 5 disposition of cases on their merits; and (5) the availability of less drastic alternatives. E.g., Ferdik,
 6 963 F.2d at 1260–61.
 7          These factors weigh in favor of dismissal here. The first two factors, the public’s interest
 8 in expeditiously resolving this litigation and the Court’s interest in managing its docket, weigh in
 9 favor of dismissal. The third factor, risk of prejudice to Defendants, also weighs in favor of
10 dismissal because a presumption of injury arises from the occurrence of unreasonable delay in
11 filing a pleading ordered by the court or prosecuting an action. See Anderson v. Air West, 542 F.2d
12 522, 524 (9th Cir. 1976). A Court’s warning to a party that its failure to obey an order will result
13 in dismissal satisfies the fifth factor’s “consideration of alternatives” requirement, see, e.g., Ferdik,
14 963 F.2d at 1262, and that warning was given here. The fourth factor, the public policy favoring
15 disposition of cases on their merits, is greatly outweighed by the factors favoring dismissal.
16          Accordingly, the undersigned RECOMMENDS that this case be DISMISSED without
17 prejudice.
18          Dated: August 3, 2021
19                                                                  ______________________________
                                                                    Nancy J. Koppe
20                                                                  United States Magistrate Judge
21                                                 NOTICE
22          This report and recommendation is submitted to the United States District Judge assigned
23 to this case pursuant to 28 U.S.C. § 636(b)(1).            A party who objects to this report and
24 recommendation must file a written objection supported by points and authorities within fourteen
25 days of being served with this report and recommendation. Local Rule IB 3-2(a). Failure to file
26 a timely objection may waive the right to appeal the district court’s order. Martinez v. Ylst, 951
27 F.2d 1153, 1157 (9th Cir. 1991).
28

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